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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------X
COMMODITY FUTURES TRADING
COMMISSION,
                                                      ORDER
                Plaintiff,
                                            22 Civ. 10589 (NRB)
           - against –

GLEN POINT CAPITAL ADVISORS LP,
GLEN POINT CAPITAL LLP, AND
NEIL PHILLIPS,

                Defendants.

------------------------------X
NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE


     WHEREAS, on March 1, 2023, the Government submitted a motion

seeking to intervene and for a full stay of the matter, including

a stay of all discovery, until the conclusion of the parallel

criminal action United States v. Neil Phillips, 22 CR 138 (RA)

(the “Criminal Case”); and

     WHEREAS, all defendants have consented to such stay; and

     WHEREAS, the Court finds that a stay is in furtherance of the

interests of justice; it is hereby

     ORDERED that the Government’s motion to intervene is granted;

it is further

     ORDERED that the case is stayed in its entirety until the

conclusion of the Criminal Case.
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Dated:    New York, New York
          March 7, 2023




                                         ____________________________
                                             NAOMI REICE BUCHWALD
                                         UNITED STATES DISTRICT JUDGE




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